AO 106 (mod. 5/14) Application for a Search Warrant

UNITED STATES DISTRICT COURT = ts tijiean:

  

 

for the Wisconsin Easter
Eastern District of Wisconsin MAR 6 2019
In the Matter of the Search of: ED

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The entire property located at 8703 Berry Lane, Crandon, ) .
Wisconsin (“SUBJECT PREMISES”), including any ) Case No. | 4 me oT
storage or outbuildings and garages, more particularly )
described as a single-family mobile home located in the )
Town of Lincoln, Forest County. The residence is white )

and tan in color and has wooden additions on each end of
the mobile home. Located near the front entrance door is
a wooden gazebo. There is a detached garage with gray
siding located on the SUBJECT PREMISES.
Additionally, located on the SUBJECT PREMISES, is a
small wooden shed with dark colored shingles and a “Hy
Line” camper. Located near the roadside of Berry Lane is
red Town of Lincoln placard with the white numerals
“8703.”

APPLICATION FOR A SEARCH WARRANT

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under penalty of
perjury that I have reason to believe that on the following person or property: See attached affidavit and attachments hereby
incorporated by reference.

The basis for the search under Fed. R. Crim P. 41(c) is:
evidence of a crime;
contraband, fruits of crime, or other items illegally possessed;
property designed for use, intended for use, or used in committing a crime;
L] a person to be arrested or a person who is unlawfully restrained.

The search is related to violations of:
Evidence of a violation of Title 18 U.S.C. Sections 2251, 2252, and 2252A as set forth in affidavit and attachments.

The application is based on these facts: See attached affidavit. Aa

Applicant's slgngt ignat ure

Nathon Crate fe, Jpecesl Aepot

Printed Name and Title

Sworn to before me and signed in my presence:
Date: Q | ly | | q Ae Jrzcce(O

 

 

Jud&e’s signature

City and State: Green Bay, Wisconsin James R. Sickel _ U.S. Magistrate Judge
Case 1:19-mj-00645-JRS Filed 03/06/19 Pagers 2a erécitfment 1

 

 
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AFFIDAVIT IN SUPPORT OF FILED |

Stephen C. Dries, Clerk

AN APPLICATION FOR A SEARCH WARRANT

 

I, Nathan A. Cravatta, being duly sworn, hereby state as follows:
INTRODUCTION

1. I ama Special Agent with the Department of Homeland Security,
Homeland Security Investigations (HSI), an investigative branch of the United States
Department of Homeland Security. Iam a federal law enforcement officer authorized
by the Secretary of Homeland Security to request the issuance of criminal complaints
and search warrants. Asa federal agent, Jam. authorized to investigate violations of
laws of the United States and to execute warrants issued under the authority of the
United States. I have been employed as a Special Agent with HSI since May 2005. Iam
currently assigned to the Resident Agent in Charge Office in Milwaukee, Wisconsin.

2. My experience as an HSI agent has included the investigation of cases
involving the use of computers and the Internet to commit violations of federal law
involving child exploitation, including the production, transportation, receipt,
distribution and possession of child pornography. I have received training and have
gained experience in interviewing and interrogation techniques, arrest procedures,
search warrant applications and the execution of searches and seizures involving
computer crimes. I have investigated and assisted in the investigation of criminal
matters involving the sexual exploitation of children which constituted violations of

Title 18, United States Code, Sections 2251, 2252 and 2252A.
1

Case 1:19-mj-00645-JRS_ Filed 03/06/19 Page 2 of 41 Document 1
3. Iam responsible for investigating violations of federal laws, including the
offenses of advertisement, production, transportation, receipt, distribution, and
possession of child pornography (as defined in Title 18, United States Code Section
2256) in interstate or foreign commerce by any means, including by computer.

4, The statements contained within this affidavit are based on my training
and experience as well as the training and experience of and information communicated
to me by other law enforcement personnel with whom I have personally spoken or
communicated via email.

5. | This affidavit is made in support of an application for warrants to search:
(1) the entire premises located at 8703 Berry Lane, Crandon, Wisconsin (“SUBJECT
PREMISES”), including any storage or outbuildings and garages, more particularly
described as a single-family mobile home located in the Town of Lincoln, Forest
County. The residence is white and tan in color and has wooden additions on each end
of the mobile home. Located near the front entrance door is a wooden gazebo. There is
a detached garage with gray siding located on the SUBJECT PREMISES. Additionally,
located on the SUBJECT PREMISES, is a small wooden shed with dark colored shingles
and a “Hy Line” camper. Located near the roadside of Berry Lane is red Town of
Lincoln placard with the white numerals “8703.” (2) the content of electronic storage
devices located therein; and (3) any person located at the SUBJECT PREMISES in order

to seize and search any electronic devices or media in his or her possession.

Case 1:19-mj-00645-JRS_ Filed 03/06/19 Page 3 of 41 Document 1
6. The statements in this affidavit are based in part on information provided
by HSI agents in Ottawa, Canada, and on my investigation of this matter. Since this
affidavit is being submitted for the limited purpose of securing a search warrant, I have
not included each and every fact known to me concerning this investigation. I have set
forth only the facts that I believe are necessary to establish probable cause to believe
that contraband and evidence, fruits, and instrumentalities of violations of 18 U.S.C. §§
2252.A(a)(2)(A) and (b)(1) (distribution of child pornography); and 18 U.S.C. §§
2252A(a)(5)(B) and (b) (2) (possession of and access with intent to view child
pornography), are presently located at the SUBJECT PREMISES.

STATUTORY AUTHORITY

7. In my capacity as an investigator of criminal violations relating to child
exploitation and child pornography, I have become familiar with the following federal
statutes:

a. | Receipt and Distribution of Child Pornography, 18 U.S.C.

§ 2252A(a)(2)(A), which makes it unlawful for someone to knowingly receive or _

distribute any child pornography that has been mailed, or using any means or

facility of interstate or foreign commerce shipped or transported in or affecting
interstate or foreign commerce by any means, including by computer. ©
b. Possession of Child Pornography, 18 U.S.C. § 2252A(a)(5)(B), which

makes it unlawful for someone to knowingly possesses, or knowingly accesses

Case 1:19-mj-00645-JRS Filed 03/06/19 Page 4o0f41 Document 1
with intent to view, any book, magazine, periodical, film, videotape, computer
disk, or any other material that contains an image of child pornography that has
been mailed, or shipped or transported using any means or facility of interstate
or foreign commerce or in or affecting interstate or foreign commerce by any
means, including by computer, or that was produced using materials that have
been mailed, or shipped or transported in or affecting interstate or foreign
commerce by any means, including by computer.

c. Pursuant to 18 U.S.C. § 2256(8), Child Pornography is defined as
“any visual depiction, including any photograph, film, video, picture, or
computer or computer-generated image or picture, whether made or produced
- by electronic, mechanical, or other means, of sexually explicit conduct, where “
(A) the production of the visual depiction involved the use of a minor engaged in
sexually explicit conduct, (B) the visual depiction is a digital image, computer
image, or computer generated image that is, or is indistinguishable from, that of
a minor engaged in sexually explicit conduct, or (C) the visual depiction has been
created, adapted, or modified to appear that an identifiable minor is engaged in
sexually explicit conduct.”

d. Pursuant to 18 U.S.C. § 2256(1), the term “minor,” is defined as

“any person under the age of eighteen years.”

Case 1:19-mj-00645-JRS Filed 03/06/19 Page 5 of 41 Document 1
DEFINITIONS
8. The following definitions apply to this Affidavit and Attachment B:

a. “Chat,” as used herein, refers to any kind of text communication
over the Internet that is transmitted in real-time from sender to receiver. Chat
messages are generally short in order to enable other participants to respond
quickly and in a format that resembles an oral conversation. This feature
distinguishes chatting from other text-based online communications such as
Internet forums and email.

b. “Chat room,” as used herein, refers to the ability of individuals to
meet in one location on the Internet in order to communicate electronically in
real-time to other individuals. Individuals may also have the ability to transmit
electronic files to other individuals within the chat room.

C. “Child erotica,” as used herein, means materials or items that are
sexually arousing to persons having a sexual interest in minors, but that are not
necessarily obscene or do not necessarily depict minors engaging in sexually
explicit conduct.

d. “Child pornography,” as defined in 18 U.S.C. § 2256(8), is any
visual depiction, including any photograph, film, video, picture, or computer or
computer-generated image of picture, whether made or produced by electronic,

mechanical or other means, of sexually explicit conduct, where (a) the production

Case 1:19-mj-00645-JRS Filed 03/06/19 Page 6 of41 Document 1
of the visual depiction involved the use of a minor engaged in sexually explicit
conduct, (b) the visual depiction is a digital image, computer image, or
computer-generated image that is, or is indistinguishable from, that of a minor
engaged in sexually explicit conduct, or (c) the visual depiction has been created,
adapted, or modified to appear that an identifiable minor is engaged in sexually
explicit conduct.

e@ “Computer,” as used herein, refers to “an electronic, magnetic,
optical, electrochemical, or other high speed data processing device performing
logical or storage functions, and includes any data storage facility or
communications facility directly related to or operating in conjunction with such
device” and includes smartphones, and mobile phones and devices. See 18
U.S.C. § 1030(e)(1).

f. “Computer hardware,” as used herein, consists of all equipment
that can receive, capture, collect, analyze, create, display, convert, store, conceal,
or transmit electronic, magnetic, or similar computer impulses or data.
Computer hardware includes any data-processing devices (including central
processing units, internal and peripheral storage devices such as fixed disks,
external hard drives, floppy disk drives and diskettes, and other memory storage
devices); peripheral input/output devices (including keyboards, printers, video

display monitors, and related communications devices such as cables and

Case 1:19-mj-00645-JRS_ Filed 03/06/19 Page 7 of 41 Document 1
connections); as well as any devices, mechanisms, or parts that can be used to
restrict access to computer hardware (including physical keys and locks).

g. “Computer passwords and data security devices,” as used herein,
consist of information or items designed to restrict access to or hide computer
software, documentation, or data. Data security devices may consist of
hardware, software, or other programming code. A password (a string of alpha-
numeric characters) usually operates what might be termed a digital key to
“unlock” particular data security devices. Data security hardware may include
encryption devices, chips, and circuit boards. Data security software may
include programming code that creates “test” keys or “hot” keys, which perform
certain pre-set security functions when touched. Data security software or code
may also encrypt, compress, hide, or “booby-trap” protected data to make it
inaccessible or unusable, as well as reverse the process to restore it.

h. “Hash Value” refers to the process of using a mathematical
function, often called an algorithm, to generate a numerical identifier for data. A
hash value can be thought of as a “digital fingerprint” for data. If the data is
changed, even very slightly (like the addition or deletion of a comma or a
period), the hash value changes.

i. “Internet Protocol address” or “IP address,” as used herein, refers

to a unique number used by a computer or other digital device to access the

Case 1:19-mj-00645-JRS Filed 03/06/19 Page 8 of 41 Document 1
Internet. An IP address looks like a series of four numbers, each in the range 0-
255, separated by periods (e. g., 121.56.97.178). Every computer or device
accessing the Internet must be assigned an IP address so that Internet traffic sent
from and directed to that computer or device may be directed properly from its
source to its destination. Most Internet Service Providers (ISPs) control a range
of IP addresses. IP addresses can be “dynamic,” meaning that the ISP assigns a
different unique number to a computer or device every time it accesses the
Internet. IP addresses might also be “static,” if an ISP assigns a user’s computer
a particular IP address that is used each time the computer accesses the Internet.
ISPs typically maintain logs of the subscribers to whom IP addresses are
assigned on particular dates and times.

j. “Internet Service Providers” (“ISPs”), as used herein, are
commercial organizations that are in business to provide individuals and
businesses access to the Internet. ISPs provide a range of functions for their
customers including access to the Internet, web hosting, e-mail, remote storage,
and co-location of computers and other communications equipment.

k, The “Internet” is a global network of computers and other
electronic devices that communicate with each other. Due to the structure of the

Internet, connections between devices on the Internet often cross state and

Case 1:19-mj-00645-JRS_ Filed 03/06/19 Page 9 of41 Document 1
international borders, even when the devices communicating with each other are
in the same state.

I. “Mobile applications,” as used herein, are small, specialized
programs downloaded onto mobile devices that enable users to perform a
variety of functions, including engaging in online chat, reading a book, or
playing a game.

m. “Records,” “documents,” and “materials,” as used herein, include
all information recorded in any form, visual or aural, and by any means, whether:
in handmade, photographic, mechanical, electrical, electronic, or magnetic form.

n. “Remote Computing Service” (“RCS”), as defined in 18 U.S.C. §
2711(2), is the provision to the public of computer storage or processing services
by means of an electronic communications system.

O. “Sexually explicit conduct,” as defined in 18 U.S.C. § 2256(2),
means actual or simulated (a) sexual intercourse, including genital-genital, oral-
genital, anal-genital, or oral-anal, whether between persons of the same or
opposite sex; (b) bestiality; (c) masturbation; (d) sadistic or masochistic abuse; or
(e) lascivious exhibition of the genitals or pubic area of any person.

Pp: A “storage medium” is any physical object upon which computer
data can be recorded. Examples include hard disks, RAM, floppy disks, flash

memory, CD-ROMs, and other magnetic or optical media.

Case 1:19-mj-00645-JRS_ Filed 03/06/19 Page 10 of 41 Document 1
q. “Visual depiction,” as defined in 18 U.S.C. § 2256(5), includes
undeveloped film and videotape, data stored on computer disc or other
electronic means which is capable of conversion into a visual image, and data
which is capable of conversion into a visual image that has been transmitted by
any means, whether or not stored in a permanent format.

APPLICATION A

9, “ Application A” is designed for mobile chatting or messaging. To use this
application, a user downloads the application to a mobile phone or other mobile device
via a service such as Google Play Store, Apple iTunes, or another similar provider.
Once downloaded and installed, the user is prompted to create an account and
username. The user also has a display name, which is what other users see when
transmitting messages back and forth. Once the user has created an account, the user is
able to locate other users via a search feature, and the two parties can then send each
other messages, images, and videos.

10. | Once downloaded and installed, the user also has a display name, which
will be what other users initially see when transmitting messages back and forth. As
part of the account creation process, “ Application A” users are asked to supply a valid
e-mail address, create a password, provide an optional date of birth, and user location.
The user also has the option of uploading a “profile avatar” that is seen by others. Once

the “Application A” user has created an account, the user is able to locate other users

10

Case 1:19-mj-00645-JRS Filed 03/06/19 Page 11o0f41 Document 1
via a search feature. The search feature usually requires the user to know the intended
recipient’s username. Once another user is located or identified, “Application A” users
can send messages, images, and videos between two parties.

11. “Application A” also allows users to create chat rooms, of up to 50 people,
to communicate in a group setting and exchange images and videos. These groups are
administered by the group creator who has the authority to remove and ban other users
from the created group. Once the group is created “ Application A” users have the
option of sharing a link to the group that includes all of their contacts or any other user.
These groups are frequently created with a “hashtag” that is easily identifiable or _
searchable by keyword.

12. “Application A” users frequently advertise their “Application A”
usernames on various social networking sites in order to meet and connect with other
users. In some cases, “ Application A” also provides various avenues, such as dating
sites and social media applications, for meeting other users. HSI undercover agents
observed in some chats that many of the users stated they felt safe using “Application
A” as a means of trading child pornography and for other illegal activities, due to the
fact that “”“ Application A” is a Canadian based company, and not subject to the same
United States laws.” HSI undercover agents have noted messages posted in

“ Application A” chat rooms relating to the enforcement, deletion, or banning of users

and rooms by “Application A” for the purpose of exchanging or distributing child

1

Case 1:19-mj-00645-JRS Filed 03/06/19 Page 12 of 41 Document 1
pornography. HSI agents noted the comments to include the continued creation of new
rooms and new user accounts to circumvent “Application A’s” enforcement efforts.
SUMMARY OF INVESTIGATION INVOLVING “APPLICATION A” |

13. On or about April 4, 2018, “Application A” reported to the Royal _
Canadian Mounted Police (RCMP) that their service may have been used to distribute
child pornography!. According to information provided to RCMP, on April 4, 2018,
“Application A” user “s18123” sent two images which depict child exploitation
material on “ Application A’s” chat platform. I have reviewed these images and they
depict the following:

a. 351320707B4.A 2D AF2314E60C7B791E34A0A4296D: This is a still
colored image depicting a naked, prepubescent male who is lying on his back with his
legs slightly spread. His penis is exposed and is the focal point of the image. His left
hand is positioned near his left, upper thigh area and his head is slightly raised. Visible
in the background of the image is a turquoise colored wall and a black bed post.
Positioned to the right waist area of this male is another prepubescent male with

shoulder length blonde hair. This male is bare chested and only his upper torso area is

 

1 Canadian law requires electronic service providers to report child pornography offenses to law
enforcement when they are discovered. “Application A”, in partnership with law enforcement,
uses hash-matching technologies to moderate images being shared between users and groups.
Images sent between users are subjected to a hash calculation both before and after being
optimized over “Application A’s” network. When “Application A” receives notification that an
image matches a hash value, a report is generated and provided to RCMP. The hash values of
known child pornography being used by “Application A” have been provided by RCMP.

12

Case 1:19-mj-00645-JRS_ Filed 03/06/19 Page 13 of41 Document 1
visible in the image. This male has the penis of the previously described male in his
mouth. He also has his right hand positioned near the testicles of the other
prepubescent male. “ Application A’ user “ds18123” sent this image on April 4, 2018 at
20:26:00 Coordinated Universal Time (UTC).

b. A9353D97296B97333851FD8C3 A6E86D55D8D2798: This is a still
colored image depicting an underage male who is approximately 5-8 years of age. This
male is positioned to the left waist area of what appears to be an adult male. The adult
male is wearing blue jeans and a gray colored shirt. The lower torso area of the adult
male is visible in the lower left-hand area of the image. His jeans are pulled down to his
waist exposing his penis and testicles. The left hand of the adult male is positioned near
the back-head area of the underage male. The underage male has red hair and is
wearing a short sleeve, turquoise colored shirt. His right hand is positioned near the
penis area of the adult male. The underage male has the penis of the adult male in his
mouth. Visible in the background of the image is pink blanket, black folding chair, and
small portion of a white wall or trim near the head of the underage male. “Application
A” user “ds18123” sent this image on April 4, 2018 at 20:24:09 UTC.

14. According to information provided by RCMP, both of the described
images were posted from IP address 74.33.116.48. Open source database checks

indicate this IP address resolved to Frontier Communications in Rhinelander,

13.

Case 1:19-mj-00645-JRS Filed 03/06/19 Page 14 of 41 Document1
Wisconsin so this investigation was subsequently forwarded to HSI Milwaukee for
further investigation.
15.  Ireviewed the information provided by “Application A” and learned'the
following subscriber information for “Application A” user “ds18123”:
User Name: ds18123
First Name: teen-lvr
Last Name: SC-ds18123
Email: spam26991@gmail.com (unconfirmed)
This account was registered on April 4, 2018 at 01:36:01 UTC from an Android device.
16. | On May 17, 2018, I served a Department of Homeland Security
administrative summons on Frontier Communications Corporation requesting
subscriber information related to IP address 74.33.116.48 on the date and times
“ds18123” sent the images using “ Application A’s” chat platform. I reviewed the
information subsequently provided by Frontier Communications and saw that the IP
address was assigned to “Justin Bula” at the SUBJECT PREMISES on August 18, 2016
and remained assigned to him on the date and time the images were sent using the chat
platform.
17. [have queried the Wisconsin Department of Transportation (DOT)
databases and learned that Justin Bula, date of birth xx/xx/1984, reported an address of
the SUBJECT PREMISES. This address was updated with the Wisconsin DOT on

January 6, 2012. DOT records also indicate one vehicle is registered to Justin Bula at the

SUBJECT PREMISES. Registration last updated on January 22, 2018.
14

Case 1:19-mj-00645-JRS Filed 03/06/19 Page 15 of 41 Document 1
18. I have reviewed Forest County Assessor's Office property listing records
which show that Justin Bula has owned the SUBJECT PREMISES since June 14, 2013.

19. On February 27, 2019, I spoke to Bula’s supervising probation agent from
the Wisconsin Department of Corrections, Division of Community Corrections. His
probation agent confirmed Bula resides at the SUBJECT PREMISES and a home visit
was last conducted on October 17, 2018.

20. On March 4, 2019, a representative from the U.S. Postal Service confirmed
Justin Bula and Zackary Adams are receiving mail at the SUBJECT PREMISES.

21. OnFebruary 27, 2019, I reviewed the Wisconsin Sex Offender Registry.
According to the Wisconsin Sex Offender Registry, the SUBJECT PREMISES is listed as
being Bula’s residence. |

PAST CHILD EXPLOITATION CONDUCT BY JUSTIN BULA

22. According to information received from the Wisconsin Department of
Justice, Division of Criminal Investigation (DCI), on August 27, 2014, DCI Special Agent
(SA) Chad Racine reviewed a tip from the National Center for Missing and Exploited
Children (NCMEC). According to information received, Google, Ine identified one
image uploaded in one of electronic mailing accounts that depicted content of a child
engaged in sexually explicit activity. This upload was completed by an IP address
which later was determined to be assigned to Northern Sandfarms Growers at the

SUBJECT PREMISES.

15

Case 1:19-mj-00645-JRS Filed 03/06/19 Page 16 of 41 Document 1
23. On December 11, 2014, agents and officers with DCI and the Forest
County Sheriff’s Office executed a search warrant at the SUBJECT PREMISES. Seized
and forensically previewed during the execution of the search warrant were numerous
electronic devices, external storages devices, and cellular telephones. Located on media
storage devices and computer hard drives were numerous images and videos depicting
child exploitation material. During an interview conducted with Justin Bula, he
acknowledged he had searched for, viewed, and saved files which depicted child
pornography. Bula indicated he was sexually attracted to males and had seen
pornographic i images of males as young as infants. Bula was subsequently arrested by
DCI for ten counts of Possession of Child Pornography.

24. On October 7, 2015, Justin Bula appeared in Forest County Circuit Court
and was placed on probation supervision for a period of seven years. As a condition of
his probation, Bula was ordered to serve 2 years in the county jail with Huber
privileges. Bula is also required to comply with the Wisconsin Sex Offender Registry

for the remainder of his life.

SPECIFICS OF SEARCH AND SEIZURE OF COMPUTER SYSTEMS

25. As described above and in Attachment B, this application seeks
permission to search for records that might be found on the SUBJECT PREMISES, in
whatever form they are found. One form in which the records might be found is data

stored on a computer’s hard drive or other storage media. Thus, the warrant applied

16

Case 1:19-mj-00645-JRS Filed 03/06/19 Page 17 of 41 Document 1
for would authorize the seizure of electronic storage media or, potentially, the copying
of electronically stored information, all under Rule 41(e)(2)(B).

26. [submit that ifa computer or storage medium is found on the SUBJECT
PREMISES, there is probable cause to believe those records will be stored on that
computer or storage medium, for at least the following reasons:

a. Based on my knowledge, training, and experience, I know that

‘computer files or remnants of such files can be recovered months or even years

after they have been downloaded onto a storage medium, deleted, or viewed via
the Internet. Electronic files downloaded to a storage medium can be stored for
years at little or no cost. Even when files have been deleted, they can be
recovered months or years later using forensic tools. This is so because when a
person “deletes” a file on a computer, the data contained in the file does not
actually disappear; rather, that data remains on the storage medium until it is
overwritten by new data.

b. Therefore, deleted files, or remnants of deleted files, may reside in
free space or slack space — that is, in space on the storage medium that is not
currently being used by an active file—for long periods of time before they are
overwritten. In addition, a computer’s operating system may also keep a record

of deleted data ina “swap” or “recovery” file.

17

Case 1:19-mj-00645-JRS Filed 03/06/19 Page 18 of 41 Document 1
c. Wholly apart from user-generated files, computer storage media—
in particular, computers’ internal hard drives — contain electronic evidence of
how a computer has been used, what it has been used for, and who has used it.
To give a few examples, this forensic evidence can take the form of operating
system configurations, artifacts from operating system or application operation,
file system data structures, and virtual memory “swap” or paging files.
Computer users typically do not erase or delete this evidence, because special
software is typically required for that task. However, it is technically possible to
delete this information.

d. Similarly, files that have been viewed via the Internet are
sometimes automatically downloaded into a temporary Internet directory or
“cache.” |

27. - As further described in Attachment B, this application seeks permission to

locate not only computer files that might serve as direct evidence of the crimes

described on the warrant, but also for forensic electronic evidence that establishes how

computers were used, the purpose of their use, who used them, and when. There is

probable cause to believe that this forensic electronic evidence will be on any storage

medium in the SUBJECT PREMISES because:

a. Data on the storage medium can provide evidence of a file that was

once on the storage medium but has since been deleted or edited, or of a deleted

18

Case 1:19-mj-00645-JRS Filed 03/06/19 Page 19 of 41 Document 1
portion of a file (such as a paragraph that has been deleted from a word
processing file). Virtual memory paging systems can leave traces of information
on the storage medium that show what tasks and processes were recently active.
Web browsers, e-mail programs, and chat programs store configuration
information on the storage medium that can reveal information such as online
nicknames and passwords. Operating systems can record additional
information, such as the attachment of peripherals, the attachment of USB flash
storage devices or other external storage media, and the times the computer was
in use. Computer file systems can record information about the dates files were
created and the sequence in which they were created, although this information
can later be falsified.

b. As explained herein, information stored within a computer and.
other electronic storage media may provide crucial evidence of the “who, what,
why, when, where, and how” of the criminal conduct under investigation, thus
enabling the United States to establish and prove each element or alternatively,
to exclude the innocent from further suspicion. In my training and experience,
information stored within a computer or storage media (e.g., registry
information, communications, images and movies, transactional information,
records of session times and durations, internet history, and anti-virus, spyware,

and malware detection programs) can indicate who has used or controlled the

19

Case 1:19-mj-00645-JRS_ Filed 03/06/19 Page 20 of 41 Document 1
computer or storage media. This “user attribution” evidence is analogous to the
search for “indicia of occupancy” while executing a search warrant at a
residence. The existence or absence of anti-virus, spyware, and malware
detection programs may indicate whether the computer was remotely accessed,
thus inculpating or exculpating the computer owner. Further, computer and
storage media activity can indicate how and when the computer or storage
media was accessed or used. For example, as described herein, computers
typically contain information that log: computer user account session times and
durations, computer activity associated with user accounts, electronic storage
media that connected with the computer, and the IP addresses through which —_
the computer accessed networks and the internet. Such information allows
investigators to understand the chronological context of computer or electronic
storage media access, use, and events relating to the crime under investigation.
Additionally, some information stored within a computer or electronic storage
media may provide crucial evidence relating to the physical location of other
evidence and the suspect. For example, images stored on a computer may both
show a particular location and have geolocation information incorporated into its
file data. Such file data typically also contains information indicating when the
file or image was created. The existence of such image files, along with external

device connection logs, may also indicate the presence of additional electronic

20

Case 1:19-mj-00645-JRS_ Filed 03/06/19 Page 21 of 41 Document 1
storage media (e.g., a digital camera or cellular phone with an incorporated
camera). The geographic and timeline information described herein may either
inculpate or exculpate the computer user. Last, information stored within a
computer may provide relevant insight into the computer user’s state of mind as
it relates to the offense under investigation. For example, information within the
computer may indicate the owner’s motive and intent to commit a crime (e.g,
internet searches indicating criminal planning), or consciousness of guilt (e.g.,
running a “wiping” program to destroy evidence on the computer or password
protecting/ encrypting such evidence in an effort to conceal it from law
enforcement).

c. A person with appropriate familiarity with how a computer works —
can, after examining this forensic evidence in its proper context, draw
conclusions about how computers were used, the purpose of their use, who used
them, and when.

d. The process of identifying the exact files, blocks, registry entries,
logs, or other forms of forensic evidence on a storage medium that are necessary
to draw an accurate conclusion is a dynamic process. While it is possible to
specify in advance the records to be sought, computer evidence is not always
data that can be merely reviewed by a review team and passed along to

investigators. Whether data stored on a computer is evidence may depend on

21

Case 1:19-mj-00645-JRS Filed 03/06/19 Page 22 of 41 Document 1
other information stored on the computer and the application of knowledge
about how a computer behaves. Therefore, contextual information necessary to
~ understand other evidence also falls within the scope of the warrant.

e. Further, in finding evidence of how a computer was used, the
purpose of its use, who used it, and when, sometimes it is necessary to establish
that a particular thing is not present on a storage medium. For example, the
presence or absence of counter-forensic programs or anti-virus programs (and
associated data) may be relevant to establishing the user’s intent.

f. I know that when an individual uses a computer to obtain or access
child pornography, the individual’s computer will generally serve both as an
instrumentality for committing the crime, and also as a storage medium for
evidence of the crime. The computer is an instrumentality of the crime because it
is used as a means of committing the criminal offense. The computer is also
likely to be a storage medium for evidence of crime. From my training and
experience, I believe that a computer used to commit a crime of this type may
contain: data that is evidence of how the computer was used; data that was sent
or received; notes as to how the criminal conduct was achieved; records of
Internet discussions about the crime; and other records that indicate the nature of

the offense.

22

Case 1:19-mj-00645-JRS Filed 03/06/19 Page 23 of 41 Document 1
28. Based upon my training and experience and information relayed to me by
agents and others involved in the forensic examination of computers, I know that
computer data can be stored on a variety of systems and storage devices, including
external and internal hard drives, flash drives, thumb drives, micro SD cards, macro SD
cards, DVDs, gaming systems, SIM cards, cellular phones capable of storage, floppy
disks, compact disks, magnetic tapes, memory cards, memory chips, and online or
offsite storage servers maintained by corporations, including but not limited to “cloud”
storage. I also know that during the search of the premises it is not always possible to
search computer equipment and storage devices for data for a number of reasons,
including the following:

a, Searching computer systems is a highly technical process which .
requires specific expertise and specialized equipment. There are so many types
of computer hardware and software in use today that it is impossible to bring to
the search site all of the technical manuals and specialized equipment necessary
to conduct a thorough search. In addition, it may also be necessary to consult
with computer personnel who have specific expertise in the type of computer,
software website, or operating system that is being searched;

b. Searching computer systems requires the use of precise, scientific
procedures which are designed to maintain the integrity of the evidence and. to

recover “hidden,” erased, compressed, encrypted, or password-protected data.

23

Case 1:19-mj-00645-JRS Filed 03/06/19 Page 24 of 41 Document 1
Computer hardware and storage devices may contain “booby traps” that destroy
or alter data if certain procedures are not scrupulously followed. Since computer
data is particularly vulnerable to inadvertent or intentional modification or
destruction, a controlled environment, such as a law enforcement laboratory, is
essential to conducting a complete and accurate analysis of the equipment and

_ storage devices from which the data will be extracted;

c. The volume of data stored on many computer systems and storage
devices will typically be so large that it will be highly impractical to search for
data during the execution of the physical search of the premises; and

d. Computer users can attempt to conceal data within computer
equipment and storage devices through a number of methods, including the use
of innocuous or misleading filenames and extensions. For example, files with the
extension “jpg” often are image files; however, a user can easily change the
extension to ” txt” to conceal the image and make it appear that the file contains
text, Computer users can also attempt to conceal data by using encryption,
which means that a password or device, such as a “dongle” or “keycard,” is
necessary to decrypt the data into readable form. In addition, computer users
can conceal data within another seemingly unrelated and innocuous file in a
process called “steganography.” For example, by using steganography a

computer user can conceal text in an image file which cannot be viewed when

24

Case 1:19-mj-00645-JRS Filed 03/06/19 Page 25 of 41 Document 1
the image file is opened. Therefore, a substantial amount of time is necessary to

extract and sort through data that is concealed or encrypted to determine

whether it is contraband, evidence, fruits, or instrumentalities of a crime.

29, Additionally, based upon my training and experience and information
related to me by agents and others involved in the forensic examination of computers, I
know that routers, modems, and network equipment used to connect computers to the
Internet often provide valuable evidence of, and are instrumentalities of, a crime. This
is equally true of so-called "wireless routers," which create localized networks that
allow individuals to connect to the Internet wirelessly. Though wireless networks may
be "secured" (in that they require an individual to enter an alphanumeric key or
password before gaining access to the network) or "unsecured" (in that an individual
may access the wireless network without a key or password), wireless routers for both
secured and unsecured wireless networks may yield significant evidence of, or serve as
instrumentalities of, a crime —including, for example, serving as the instrument through
which the perpetrator of the Internet-based crime connected to the Internet and,
potentially, containing logging information regarding the time and date of a
perpetrator's network activity as well as identifying information for the specific
device(s) the perpetrator used to access the network. Moreover, I know that individuals
who have set up either a secured or unsecured wireless network in their residence are

often among the primary users of that wireless network.

25

Case 1:19-mj-00645-JRS Filed 03/06/19 Page 26 of 41 Document 1
30. | I know from my training and experience, as well as from information.
found in publicly available materials including those published by Apple, that some
models of Apple devices, smartphones, or tablets such as iPhones and iPads offer their
users the ability to unlock the device via the use of a fingerprint or thumbprint
(collectively, “fingerprint”) and/or facial recognition in lieu of a numeric or
alphanumeric passcode or password. These features are referred to as Touch ID and
Face ID.

31. Ifa user enables a Touch ID or Face ID function on a given Apple device,
smartphone, or tablet, he or she can register up to five fingerprints or the face of one
person that can be used to unlock that device. The user can then use any of the
registered fingerprints or the registered face to unlock the device by pressing the —
relevant finger(s) to the device’s Touch ID sensor, which is found in the round button
(often referred to as the “home” button) found at the bottom center of the front of the
device or hold the device up to the registered person’s face. In my training and
experience, users of Apple devices, smartphones, or tablets that offer Touch ID and. Face
ID often enable it because it is considered to be a more convenient way to unlock the
device than by entering a numeric or alphanumeric passcode or password, as well as a
more secure way to protect the device’s contents. This is particularly true when the
user(s) of the device are engaged in criminal activities and thus have a heightened

concern about securing the contents of the device.

26

Case. 1:19-mj-00645-JRS Filed 03/06/19 Page 27 of 41 Document 1
32. Insome circumstances, a fingerprint or face cannot be used to unlock a
device that has Touch ID/Face ID enabled, and a passcode or password must be used
instead. These circumstances include: (1) when more than 48 hours has passed since the
last time the device was unlocked and (2) when the device has not been unlocked via
Touch ID in 8 hours (or via Face ID in 4 hours) and the passcode or password has not
been. entered in the last 6 days. Thus, in the event law enforcement encounters a locked
Apple device, smartphone, or tablet, the opportunity to unlock the device via Touch ID
or Face ID exists only for a short time. Touch ID/Face ID also will not work to unlock
the device if (1) the device has been turned off or restarted; (2) the device has received a
remote lock command; and (3) five unsuccessful attempts to unlock the device via
Touch ID/Face ID are made.

33. The passcode or password that would unlock the Apple devices,
smartphones, or tablets found during the search of the premises is not known to law
enforcement. Thus, it will likely be necessary to press the finger(s) of the user(s) of the
Apple devices, smartphones, or tablets found during the search of the premises to the
device’s Touch ID sensor or hold the phone up to the face of the devices user in an
attempt to unlock the device for the purpose of executing the search authorized by this
warrant. Attempting to unlock the relevant Apple devices, smartphones, or tablets via
Touch ID with the use of the fingerprints of the user(s) or Face ID with the face of the

user is necessary because the government may not otherwise be able to access the data

27

Case 1:19-mj-00645-JRS_ Filed 03/06/19 Page 28 of 41 Document 1
contained on those devices for the purpose of executing the search authorized by this
warrant.

34. In my training and experience, the person who is in possession of a device
or has the device among his or her belongings at the time the device is found is likely a
user of the device. However, in my training and experience, that person may not be the
- only user of the device whose fingerprints or face are among those that will unlock the
device via Touch ID or Face ID, and it is also possible that the person in whose
possession the device is found is not actually a user of that device at all. Furthermore,
in my training and experience, I know that in some cases it may not be possible to know
with certainty who is the user of a given device, such as if the device is found in a
common area of a premises without any identifying information on the exterior of the
device. Thus, it will likely be necessary for law enforcement to have the ability to
require any occupant of the Subject Premises to press their finger(s) against the Touch
ID sensor or hold up the device to their face of the locked Apple devices, smartphones,
or tablets found during the search of the premises in order to attempt to identify the
device's user(s) and unlock the device(s) via Touch ID or Face ID.

35. Although I do not know which of a given user’s 10 fingerprints is capable
of unlocking a particular device, based on my training and experience I know that it is
common for a user to unlock a Touch ID-enabled Apple device, smartphone, or tablet

via the fingerprints on thumbs or index fingers. In the event that law enforcement is

28

Case 1:19-mj-00645-JRS_ Filed 03/06/19 Page 29 of 41 Document 1
unable to unlock the Apple devices, smartphones, or tablets found in the premises as
described above within the five attempts permitted by Touch ID/Face ID, this will
simply result in the device requiring the entry of a password or passcode before it can
be unlocked.

36. I request that the Court authorize law enforcement to press the fingers
(including thumbs) and hold up the device to the face of individuals found at the
premises to the Touch ID sensor and the camera of the Apple brand devices,
smartphones, or tablets, such as an iPhone or iPad, found at the premises for the
purpose of attempting to unlock the device via Touch ID and Face ID in order to search
the contents as authorized by this warrant.

37. Based on the foregoing, and consistent with Rule 41(e)(2)(B), the warrant I
am applying for would permit seizing, imaging, or otherwise copying storage media
that reasonably appear to contain some or all of the evidence described in the warrant
and would authorize a later review of the media or information consistent with the
warrant. The later review may require techniques, including but not limited to
computer-assisted scans of the entire medium, that might expose many parts of a hard
drive to human inspection in order to determine whether it is evidence described by the

warrant.

29

Case 1:19-mj-00645-JRS Filed 03/06/19 Page 30 of.41 Document 1
CHARACTERISTICS COMMON TO INDIVIDUALS WHO ADVERTISE,
TRANSPORT, DISTRIBUTE, RECEIVE, POSSESS, AND/OR ACCESS WITH
INTENT TO VIEW CHILD PORNOGRAPHY

38. Based on my previous investigative experience related to child
exploitation investigations, and the training and experience of other law enforcement
officers with whom I have had discussions, I know there are certain characteristics
common to individuals who distribute, receive, possess, and/or access with intent to
view child pornography: .

a. Such individuals may receive sexual gratification, stimulation, and
satisfaction from contact with children, or from fantasies they may have viewing
children engaged in sexual activity or in sexually suggestive poses, such as in
person, in photographs, or other visual media, or from literature describing such
activity. |

b. Such individuals may collect sexually explicit or suggestive
materials in a variety of media, including photographs, magazines, motion
pictures, videotapes, books, slides and/or drawings or other visual media.
Individuals who have a sexual interest in children or images of children
oftentimes use these materials for their own sexual arousal and gratification.
Further, they may use these materials to lower the inhibitions of children they

are attempting to seduce, to arouse the selected child partner, or to demonstrate

_ the desired sexual acts.

30

Case 1:19-mj-00645-JRS Filed 03/06/19 Page 31 of 41 Document 1
c. Such individuals almost always possess and maintain their hard
copies of child pornographic material, that is, their pictures, films, video tapes,
magazines, negatives, photographs, correspondence, mailing lists, books, tape
recordings, etc., in the privacy and security of their home or some other secure
location, Individuals who have a sexual interest in children or images of
children typically retain pictures, films, photographs, negatives, magazines,
correspondence, books, tape recordings, mailing lists, child erotica, and
videotapes for many years,

d. Likewise, such individuals often maintain their child pornography
images ina digital or electronic format in a safe, secure and private environment,
such as a computer and surrounding area. These child pornography images are "
often maintained for several years and are kept close by, usually at the
possessor’s residence, inside the possessor’s vehicle, or, at times, on their person,
to enable the individual to view the child pornography images, which are valued
highly. Some of these individuals also have been found to download, view, and
then delete child pornography on their computers or digital devices on a cyclical
and repetitive basis.

e, Importantly, evidence of such activity, including deleted child
pornography, often can be located on these individuals’ computers and digital

devices through the use of forensic tools. Indeed, the very nature of electronic

31

Case 1:19-mj-00645-JRS Filed 03/06/19 Page 32 of 41 Document 1
storage means that evidence of the crime is often still discoverable for extended
periods of time even after the individual “deleted” it.?

f. Such individuals also may correspond with and/or meet others to
share information and materials, rarely destroy correspondence from other child
pornography distributors/possessors, conceal such correspondence as they do
their sexually explicit material, and often maintain lists of names, addresses, and
telephone numbers of individuals with whom they have been in contact and who
share the same interests in child pornography.

g. Such individuals prefer not to be without their child pornography
for any prolonged time period. This behavior has been documented by law
enforcement officers involved in the investigation of child pornography
throughout the world. Thus, even if Justin Bula uses a portable device (such as a
mobile phone) to access the internet and child pornography, it is more likely than
not that evidence of this access will be found in his home, the SUBJECT
PREMISES, or on his person as set forth in Attachment A.

39. Based on the following, I believe that the user of the “ds18123” residing at

the SUBJECT PREMISES likely displays characteristics common to individuals who

 

2 See United States v. Carroll, 750 F.3d 700, 706 (7th Cir. 2014) (concluding that 5-year delay was not too long
because “staleness inquiry must be grounded in an understanding of both the behavior of child pornography
collectors and of modern technology”); see also United States v. Seiver, 692 F.3d 774 (7th Cir. 2012) (Posner, J.)
(collecting cases, e.g., United States y. Allen, 625 F.3d 830, 843 (Sth Cir. 2010); United States v. Richardson, 607
F.3d 357, 370-71 (4th Cir. 2010); United States v. Lewis, 605 F.3d 395, 402 (6th Cir. 2010).)

32

Case 1:19-mj-00645-JRS Filed 03/06/19 Page 33 of 41 Document 1
distribute, possess or access with intent to view child pornography. For example, the
target of this investigation:
a. “ds18123” joined and participated in” Application A’s” chat platform
and shared multiple images depicting child exploitation material.
b. The IP address associated with this investigation shared two images
depicting child pornography.
c. Justin Bula, a subject residing at the SUBJECT PREMISES, has a prior
state conviction for Possession of Child Pornography. In December
2014, the execution of a search warrant at his residence and subsequent
forensic exam on electronic devices located at the residence lead to the
discovery of numerous images and videos depicting child
pornography.
CONCLUSION
40. Based on the foregoing, there is probable cause to believe that the federal
criminal statutes cited herein have been violated, and that the contraband, property,
evidence, fruits and instrumentalities of these offenses, more fully described in
Attachment B, are located at the locations described in Attachment A. I respectfully
request that this Court issue a search warrant for the locations described in Attachment
A, authorizing the seizure and search of the items described in Attachment B.

41. Tamaware that the recovery of data by a computer forensic analyst takes

33

Case 1:19-mj-00645-JRS Filed 03/06/19 Page 34 of 41 Document 1
significant time; much the way recovery of narcotics must later be forensically
evaluated in a lab, digital evidence will also undergo a similar process. For this reason,
the “return” inventory will contain a list of only the tangible items recovered from the
premises. Unless otherwise ordered by the Court, the return will not include evidence

later examined by a forensic analyst.

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Nathan A. Cravatta / a
- Sp¢cial Agent

U.S. Department of

Homeland Security

 

| Swofh and subscribed wus this loth day of March, 2019.
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UNITED STATES acne ATE JUDGE

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34

Case 1:19-mj-00645-JRS_ Filed 03/06/19 Page 35 of 41 Document 1
- ATTACHMENT A

DESCRIPTION OF LOCATIONS TO BE SEARCHED
The entire property located at 8703 Berry Lane, Crandon, Wisconsin (“SUBJECT
_ PREMISES"), including any storage or outbuildings and garages, more particularly
described as a single-family mobile home located in the Town of Lincoln, Forest
County. The residence is white and tan in color and has wooden additions on each end
of the mobile home. Located near the front entrance door is a wooden gazebo. There is
a detached garage with gray siding located on the SUBJECT PREMISES. Additionally,
located on the SUBJECT PREMISES, is a small wooden shed with dark colored shingles
and a “Hy Line” camper. Located near the roadside of Berry Lane is red Town of
Lincoln placard with the white numerals “8703.”
The person of JUSTIN D BULA (DOB: xx/xx/1984) and ZACHARY R. ADAMS (DOB
xx/xx/1983), provided that these persons are located at the SUBJECT PREMISES

and/or within the Eastern District of Wisconsin at the time of the search.

35

Case 1:19-mj-00645-JRS Filed 03/06/19 Page 36 of 41 Document 1
ATTACHMENT B
ITEMS TO BE SEIZED
The following materials, which constitute evidence of the commission of a
criminal offense, contraband, the fruits of crime, or property designed or intended for
use or which is or has been used as the means of committing a criminal offense, namely
violations of Title 18, United States Code, Sections 2251, 2252 and 2252A:

1. Computers or storage media used as a means to commit the violations described
above.

2. For any computer or storage medium whose seizure is otherwise authorized by
this warrant, and any computer or storage medium that contains or in which is
stored records or information that is otherwise called for by this warrant
(hereinafter, “COMPUTER”):

a. evidence of who used, owned, or controlled the COMPUTER at the time
the things described in this warrant were created, edited, or deleted, such
as logs, registry entries, configuration files, saved usernames and
passwords, documents, browsing history, user profiles, email, email
contacts, “chat,” instant messaging logs, photographs, and
correspondence;
| b. evidence of software that would allow others to control the COMPUTER,

such as viruses, Trojan horses, and other forms of malicious software, as

36

Case 1:19-mj-00645-JRS Filed 03/06/19 Page 37 of 41 Document 1
well as evidence of the presence or absence of security software designed
to detect malicious software;

c. evidence of the lack of such malicious software;

d. evidence indicating how and when the computer was accessed or used to
determine the chronological context of computer access, use, and events
relating to the crime(s) under investigation and to the computer user;

e. evidence indicating the computer user’s knowledge and/or intent as it
relates to the crime(s) under investigation;

f. evidence of the attachment to the COMPUTER of other storage devices or
similar containers for electronic evidence;

g. evidence of programs (and associated data) that are designed to eliminate
data from the COMPUTER;

h. evidence of the times the COMPUTER was used;

i. passwords, encryption keys, and other access devices that may be
necessary to access the COMPUTER;

j. documentation and manuals that may be necessary to access the
COMPUTER or to conduct a forensic examination of the COMPUTER;

k. records of or information about Internet Protocol addresses used by the

COMPUTER;

37

Case 1:19-mj-00645-JRS Filed 03/06/19 Page 38 of 41 Document 1
1. records of or information about the COMPUTER’s Internet activity,
including firewall logs, caches, browser history and cookies,
“bookmarked” or “favorite” web pages, search terms that the user entered
into any Internet search engine, and records of user-typed web addresses;
and .

m. contextual information necessary to understand the evidence described in
this attachment.

Routers, modems, and network equipment used to connect computers to the

Internet.

Child pornography and child erotica.

. Records, information, and items relating to violations of the statutes described

- above including:

a. Records, information, and items relating to the occupancy or ownership of
the SUBJECT PREMISES, 8703 Berry Lane, Crandon, Wisconsin, including
utility and telephone bills, mail envelopes, or addressed correspondence;

b. Records, information, and items relating to the ownership or use of
computer equipment found in the above residence, including sales
receipts, bills for Internet access, and handwritten notes;

c. Records and information relating to the identity or location of the persons

suspected of violating the statutes described above;

38

Case 1:19-mj-00645-JRS_ Filed 03/06/19 Page 39 of 41 Document 1
d. Records and information relating to the sexual exploitation of children,
including correspondence and communications between users of
“Application A”;

e. Records and information showing access to and/or use of “ Application
A”; and

f. Records and information relating or pertaining to the identity of the ©
person or persons using or associated with “ds18123”.

As used above, the terms “records” and “information” includes all forms of
creation or storage, including any form of computer or electronic storage (such as hard
disks or other media that can store data); any handmade form (such as writing); any
mechanical form (such as printing or typing); and any photographic form (such as
microfilm, microfiche, prints, slides, negatives, videotapes, motion pictures, or
photocopies).

The term “computer” includes all types of electronic, magnetic, optical,
electrochemical, or other high speed data processing devices performing logical,

_ arithmetic, or storage functions, including desktop computers, notebook computers,
mobile phones, tablets, server computers, and network hardware.

The term “storage medium” includes any physical object upon which computer
data can be recorded, including external and internal hard drives, flash drives, thumb

drives, micro SD cards, macro SD cards, DVDs, gaming systems, SIM cards, cellular

39

Case 1:19-mj-00645-JRS_ Filed 03/06/19 Page 40 of 41 Document 1
phones capable of storage, floppy disks, compact discs, magnetic tapes, memory cards,
memory chips, and other magnetic or optical media.

During the execution of the search of the premises described in Attachment A,
law enforcement personnel are authorized to press the fingers (including thumbs) and
hold up the device(s) to the face of individuals found at the premises to the Touch ID
sensor of Android or Apple brand device(s) and the camera of the Apple brand devices,
smartphones, or tablets, such as an iPhone or iPad, found at the premises for the
purposes of attempting to unlock the device(s) via Touch ID and Face ID in order to

search the contents as authorized by this warrant.

40

Case 1:19-mj-00645-JRS Filed 03/06/19 Page 41 of 41 Document 1
